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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,

                Plaintiffs,

         v.

  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN WATSON;        Case No. 1:20-cv-00484-RDA-TCB
  STERLING NCP FF, LLC; MANASSAS NCP FF,
  LLC; NSIPI ADMINISTRATIVE MANAGER;
  NOVA WPC LLC; WHITE PEAKS CAPITAL               PUBLIC VERSION
  LLC; VILLANOVA TRUST; CARLETON
  NELSON; CASEY KIRSCHNER; ALLCORE
  DEVELOPMENT LLC; FINBRIT HOLDINGS       NON-PARTY IPI PARTNERS, LLC’S
  LLC; CHESHIRE VENTURES LLC; 2010         MEMORANDUM OF POINTS AND
  IRREVOCABLE TRUST; SIGMA                AUTHORITIES      IN OPPOSITION TO
  REGENERATIVE SOLUTIONS LLC; CTBSRM,      DEFENDANT BRIAN WATSON’S
  INC.; RODNEY ATHERTON; DEMETRIUS VON   MOTION   TO REMOVE “ATTORNEYS’
  LACEY; RENRETS; LLC,                       EYES  ONLY” DESIGNATION

                Defendants.

  800 HOYT LLC,

                Intervening Interpleader Plaintiff,
                Intervening Interpleader Counter-
                Defendant,

         v.

  BRIAN WATSON; WDC HOLDINGS, LLC; BW
  HOLDINGS, LLC,

                Interpleader Defendants,

         and

  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,

  Interpleader Defendants, Interpleader
  Counter-Plaintiffs.
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         Non-party IPI Partners, LLC (“IPI”), by and through its undersigned attorneys, respectfully

  files this opposition to Defendant Brian Watson’s (“Defendant Watson” or “Watson”) Motion to

  Remove “Attorneys’ Eyes Only” Designation and memorandum in support of the same (Dkts. 918,

  919) (respectively, the “Motion to Remove” and the “Memorandum”).

    I.   INTRODUCTION

         Non-party IPI’s involvement in this matter began on January 28, 2022 when Watson served

  on IPI’s registered agent an extremely broad subpoena requesting “all documents and

  communications,” from January 1, 2017 through the present, relating to all parties to the above-

  captioned matter (the “Action”) and seven enumerated individuals, not limited by any subject

  matter. IPI proposed narrowing the subpoena to provide additional date restrictions, to limit the

  production of documents to the relevant transactions at issue in this Action, and to relieve IPI of

  the burden of producing materials in the possession of any party. Watson refused IPI’s proposal

  and filed a motion to compel (the “Motion to Compel”) (Dkt. 649). At a hearing before this Court

  on the Motion to Compel, the Court acknowledged that the subpoena was so broadly drafted that

  the Court could “just strike them and say, No you can’t have any of this.” 4/29/2022 Hr’g Tr. at

  10:4–5. The Court subsequently denied Watson’s Motion to Compel and agreed with IPI’s

  proposal to narrow the scope of the document requests. Id. at 13:14-21. IPI fully complied with

  the modified subpoena, producing over 117,000 pages and a categorical privilege log. Two IPI

  employees sat for full-day depositions.

         Now, Watson’s counsel seeks the Court’s intervention because it wishes to show Defendant

  Watson a single, confidential document containing sensitive and propriety information that IPI

  does not share with even its closest business partners, including Amazon, and that is entirely




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  irrelevant to any claim or defense in this Action.1 The document in question was produced in

  response to Watson’s incredibly broad request for “all documents and communications relating to

  Defendants.” See Subpoena, Attachment A at 7; Memorandum at 3. Now that Amazon has filed

  its Third Amended Complaint, (“Third Amended Complaint” or “Third Am. Compl.”) (Dkt. 764),

  and removed its claim against Watson for breach of contract, the relevant document has no bearing

  on either Amazon’s claims that Watson engaged in a series of fraudulent acts and a kickback

  scheme, or any defense that Watson has asserted or could assert in response to these claims.2

         As discussed below, given the sensitivity of the designated document and IPI’s competing

  interests in complying with the subpoena in this Action while protecting its confidential and

  proprietary information, IPI properly designated this document “Attorneys’ Eyes Only.” Watson’s

  counsel has not set forth any basis for this Court to conclude that this document was not properly

  designated, or that Watson must view this document to aid his counsel’s advice. The document is

  entirely irrelevant to the subject matter of this Action. Accordingly, the “Attorney’s Eyes Only”

  designation should be upheld and the Motion to Remove should be denied.

   II.   BACKGROUND

     A. Non-Party IPI And The Underlying Action

         Non-party IPI is a SEC-registered investment adviser that manages a fund that makes real

  estate investments in technology and connectivity-related real estate assets. Declaration of Luke

  Gilpin in Support of Plaintiffs’ Supplemental Memorandum in Support of Show Cause Order and



         1
            Watson previously challenged IPI’s confidentiality designations with respect to five
  documents designated Attorneys’ Eyes Only by IPI and two documents designated Attorneys’ Eyes
  Only by both IPI and Amazon. Following a series of meet and confers, IPI agreed to reproduce
  those seven documents with a confidential designation.
          2
            Defendant Watson has not filed any counterclaims against Amazon in this suit, and the
  designated document certainly cannot bear upon speculative, unfiled claims.


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  Motion for Preliminary Injunction ¶ 2 (Dkt. 46) (“Gilpin Declaration”). IPI enters into joint

  ventures with various firms to combine resources on development projects. Id. ¶ 3. IPI typically

  serves as a capital provider in the joint ventures and partners with firms that serve primarily as real

  estate developers. Id.; Third Am. Compl. ¶ 121. IPI was introduced to Defendants Watson and

  WDC Holdings LLC dba Northstar Commercial Partners (“Northstar”) in January of 2018 through

  third-party brokers who were helping Watson source capital for a real estate development project

  with Amazon. Gilpin Decl. ¶ 3; see Third Am. Compl. ¶ 123. Together, IPI and Northstar formed

  a joint venture called NSIPI Data Center Venture, LLC (the “Joint Venture”), which was governed

  by a joint venture agreement (the “Joint Venture Agreement”). The Joint Venture, through four

  subsidiaries, executed nine leases with Amazon for shell facilities to be developed and located on

  several real property sites in northern Virginia. Gilpin Decl. ¶¶ 3, 4; Third Am. Compl. ¶¶ 126,

  127, 131.

         In early 2020, the fraudulent scheme alleged in the Third Amended Complaint was

  independently disclosed to IPI and Amazon through separate Northstar-related sources. See Third

  Am. Compl. ¶¶ 63–72, 157–186; Gilpin Decl. ¶¶ 10–17. On April 2, 2020, Watson and all

  Northstar-affiliated entities were terminated from their involvement with the lease transactions and

  from the Joint Venture. Third Am. Compl. ¶¶ 130, 186.

          IPI is not named as a defendant in this Action, and the Third Amended Complaint makes

  clear that IPI “is not known or suspected to have endorsed or engaged in any of the illicit conduct

  at issue in this suit.” Third Am. Compl. ¶ 125. Although IPI is not a party to this Action, Watson-

  affiliated entities have filed two separate lawsuits against IPI in the Delaware Court of Chancery




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  relating to the terminations from the Joint Venture.3 IPI filed counterclaims against Northstar,

  Watson, and their affiliates in one of the Delaware actions for, among other claims, breach of

  contract, breach of fiduciary duties, fraud, and tortious interference with contractual and/or

  business relations, in connection with Northstar and Watson’s kickback scheme, as well as

  Watson’s efforts to use proprietary Joint Venture and IPI data to wrongfully market and sell the

  data center properties after he was terminated from the Joint Venture. Discovery in the Delaware

  litigation with Northstar and Watson is stayed pending resolution of this Action. See Order Staying

  Case, W.D.C. Holdings, LLC d/b/a/ Northstar Commercial Partners, et al. v. IPI Partners, LLC, et

  al., C.A. No. 2020-1026-JTL (Del Ch. Aug. 10, 2022). Discovery in the lawsuit with Watson-

  affiliated investors is just beginning.

      B. Scope Of This Action

          At the time IPI produced documents in response to Watson’s subpoena, Amazon’s Second

  Amended Complaint was the operative complaint (“Second Amended Complaint” or “Sec. Am.

  Compl.”) (Dkt. 150). The Second Amended Complaint included, among other claims, a claim for

  breach of contract against Watson. See Sec. Am. Compl. ¶¶ 491–505, Dkt. 150. After IPI

  completed its production of documents in response to the subpoena, Amazon filed its Third

  Amended Complaint. Notably, Amazon’s Third Amended Complaint does not assert a claim of

  breach of contract against Watson. See Third Am. Compl. at pp. 69–108.         In seeking leave to

  amend its complaint, Amazon explained to the Court that it sought amendment, in part, because

  “Amazon does not intend to name Brian Watson and Northstar as defendants to its breach of

  contract claim because Amazon has now achieved a settlement with a third-party, IPI, that



  3
   These two cases are captioned W.D.C. Holdings d/b/a/ Northstar Commercial Partners, et al. v.
  IPI Partners, LLC, et al., C.A. No. 2020-1026-JTL (Del Ch.) and Sterling NCP FF, LLC v. NSIPI
  Data Center Venture, LLC, et al., C.A. No. 2021-0059-JTL. (Del. Ch.).


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  mitigates the damages it would have suffered as a result of the lease agreements Amazon had

  previously entered with those Defendants and entities they controlled.” Motion for Leave to File

  Third Amended Complaint (Dkt. 608) (“Motion for Leave”) at 3. The Motion for Leave, and the

  Third Amended Complaint, clarify that IPI’s settlement with Amazon successfully mitigated

  contractual damages experienced by Amazon as a result of Watson’s fraudulent conduct, thus

  limiting the relevance of documents produced by IPI in response to the subpoena.

     C. The Designated Document

         The challenged document was produced by IPI on April 1, 2022, Bates stamped

  IPI_EDVA_0038930–IPI_EDVA_00038939 (the “AEO Document”), in response to Watson’s

  request for “all documents and communications relating to Defendants.”             See Subpoena,

  Attachment A at 7 (capitalizations omitted). The AEO Document is entitled

  and dated February 2020. See AEO Document at IPI_EDVA_0038930. The AEO Document is a

  slide deck that was contemporaneously labeled by IPI as “Confidential – For IPI Internal Use

  Only.” The AEO Document was not circulated outside of IPI.

         The AEO Document contains




         Additionally,

                IPI first learned of the kickback scheme between Northstar, Watson, Nelson, and

  Kirschner on January 28, 2020 from Northstar’s COO, Tim Lorman. Third Am. Compl. ¶¶ 162–

  63. IPI immediately informed Amazon of this fraudulent conduct. See Defendants’ Counterclaims


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  and Third-Party Claims at ¶ 112, W.D.C. Holdings d/b/a/ Northstar Commercial Partners, et al. v.

  IPI Partners, LLC, et al., C.A. No. 2020-1026-JTL (Del Ch. July 22, 2022) (“IPI’s

  Counterclaims”). In February 2020, Lorman provided IPI with the kickback agreement between

  Northstar and Villanova, wire receipts showing payments from Northstar to Villanova, and a

  spreadsheet demonstrating that approximately $1.5 million was to be paid to Villanova. Third Am.

  Compl. ¶¶ 164–175. IPI then provided these to Amazon. In turn, Amazon, through counsel,

  informed IPI that the development and lease agreements were in serious jeopardy as a result of

  Watson’s fraudulent conduct. IPI’s Counterclaims ¶ 113. On February 19, 2020, IPI and Amazon

  entered into a Lease Continuity Agreement, which contains a clause guaranteeing completion of

  the lease transaction sites by the Joint Venture and Amazon’s right to “uninterrupted quiet

  enjoyment.” Third Am. Compl. ¶ 190. On April 2, 2020, IPI, through its affiliate and the Joint

  Venture, terminated Watson and Watson-affiliated entities from the Joint Venture and related

  landlord entities for cause. Id. ¶ 191.




                                      It is an internal document with no bearing on Amazon’s claims

  against Watson and it contains

               that IPI has not, and does not share, with its business partners, including both Amazon

  and former Joint Venture partner Northstar.

     D. The Protective Order

         On June 4, 2020, this Court entered an Agreed Protective Order (Dkt. 55) (“Protective

  Order”). The Protective Order permits any Producing Party, defined to include non-party entities


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  that disclose or produce any Discovery Material in this Action, to designate the Discovery Material

  as “Confidential” or “Highly Confidential—Outside Attorneys’ Eyes Only.” Protective Order at

  ¶ 7(a).    Discovery may be designated Highly Confidential—Outside Attorneys’ Eyes Only

  (“Attorneys’ Eyes Only”): (a) “if it contains or reflects information that is extremely confidential

  and/or sensitive in nature”; (b) if the Producing Party reasonably believes in good faith that the

  disclosure of such Discovery Material is likely to cause or create a risk of economic harm or

  competitive disadvantage to the Producing Party or a third party”; and (c) “if the Producing Party

  reasonably believes in good faith that disclosure, even for the purposes permitted with respect to

  materials designated ‘CONFIDENTIAL,’ will not provide adequate protection to the interests of

  the Producing Party.” Protective Order at ¶ 9(a).

            The Protective Order permits a Receiving Party to seek disclosure of Attorneys’ Eyes Only

  material if such material “is necessary to adequately advise their client concerning the merits of

  the case.” Id. at ¶ 9(d). In such instance, counsel for the Receiving Party may object to an

  Attorneys’ Eyes Only designation by providing the Designating Party “written notice of, and the

  basis for, such objections.” Id. at ¶ 10(b). The Designating and Receiving Party are then required

  to resolve such objections. Id. If the parties are “unable to resolve the objections, “the Receiving

  Party may seek a hearing before this Court with respect to the propriety of the designation.” Id.

   III.     ARGUMENT

            The Court should deny Watson’s Motion to Remove because the AEO Document is

  properly designated under the Protective Order and Watson has not set forth a basis to overcome

  that designation. Further, the Court should deny Watson’s Motion to Remove because the

  substance of the AEO Document is beyond the scope of this litigation following the filing of

  Amazon’s Third Amended Complaint.




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      A. The Motion To Remove Should Be Denied Because The AEO Document Is Properly
         Designated Under The Protective Order And Watson Has Not Set Forth A Reasonable
         Basis To Overcome Such Designation

            i.    The AEO Document Contains Confidential And Sensitive Information

          The use of the Attorneys’ Eyes Only designation is necessary and “not uncommon in cases

   involving the exchange of highly sensitive proprietary information.” Progress Solar Sols., LLC v.

   Fire Protec., Inc., No. 5:17-CV-152-D, 2018 WL 11281543, at *2 (E.D.N.C. Sept. 24, 2018).

          The AEO Document is properly designated because it contains confidential and sensitive

   business information.    Specifically, the AEO Document reflects




                                                       See Parker Compound Bows, Inc. v. Hunter’s

   Mfg. Co., No. 5:14cv4, 2014 WL 12462305 (W.D. Va. Dec. 8, 2014) (attorneys’ eyes only

   designation appropriate for technical information and cost and sales information).

          Additionally, the AEO document reflects




                                                                                        Because the

   AEO Document reflects confidential and sensitive information, it was properly designated and the

   Motion to Remove should be denied.

            i.    IPI Reasonably Believes In Good Faith That Disclosure Of The AEO
                  Document Under The Confidential Designation Will Not Adequately Protect
                  IPI’s Interests And Would Likely Cause Or Create A Risk Of Economic Harm
                  Or Competitive Disadvantage To IPI

          Designation of the AEO Document as confidential would result in disclosure of the AEO

   Document to all parties, including Watson and Amazon. Such disclosure would not adequately



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   protect IPI’s commercial interests and would likely create a risk of economic harm or competitive

   disadvantage to IPI.

          IPI’s belief that the disclosure of the AEO Document to Watson is likely to create a risk of

   economic harm or competitive disadvantage to IPI is reasonable and well-founded—Watson

   previously used proprietary information relating to the data centers to attempt to harm IPI.

   Following IPI’s termination of Watson from the Joint Venture, IPI learned that Watson had

   fraudulently solicited buyers for the data center properties. See IPI’s Counterclaims ¶ 199. Watson

   did not have an ownership interest in the Joint Venture at the time that he solicited buyers for the

   assets owned by the Joint Venture. Watson did not inform IPI of his efforts, and IPI learned of

   Watson’s efforts from other individuals in the industry. Watson’s prior misuse of Joint Venture

   and IPI proprietary data demonstrates that disclosure of additional confidential and proprietary

   information to Watson regarding the data center properties will subject IPI to additional risk of

   economic harm or competitive disadvantage.

          IPI also reasonably believes that disclosure to Watson will affect IPI’s rights in the ongoing

   Delaware litigations. “[I]t is very difficult for the human mind to compartmentalize and selectively

   suppress information once learned, no matter how well-intentioned the effort may be to do so.”

   FTC v. Exxon Corp., 636 F.2d 1336, 1350 (D.C. Cir. 1980). The Delaware lawsuits hinge on two

   issues: (a) whether there was cause justifying the termination of Watson-related entities from the

   Joint Venture, and (b) whether the Joint Venture properly compensated Watson-affiliated investors

   for their LLC membership interest in the Joint Venture. Thus, the AEO Document, which Watson’s

   counsel describes as suggesting




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                             , are potentially relevant to the pending claims in the Delaware matters.

   Memorandum at 8.

          Watson is alleged to have defrauded multiple parties through intentional fraudulent acts, is

   alleged to have attempted to market and sell the underlying properties after he and Northstar were

   removed from the Joint Venture and he no longer had any interest in the properties, and is under

   investigation by the Department of Justice and the Securities and Exchange Commission for

   potential criminal and civil violations arising out of Northstar’s Joint Venture with IPI. Under

   these circumstances, IPI believes in good faith that Watson will inappropriately use any

   information he obtains in discovery in this Action, including in connection with the two suits his

   related entities have initiated against non-party IPI in the Delaware Court of Chancery. Watson

   cannot usurp discovery in the Delaware litigations through non-party discovery in this Action.

   And at a minimum, allowing this information to be shared with Watson will provide Watson—

   certainly a central fact witness in the Delaware litigation—with historical facts about which he

   currently has no personal knowledge.

          Separate and apart from the harm arising from disclosure to Watson, disclosure of the AEO

   Document to Amazon is also likely to create a risk of economic harm or competitive disadvantage

   to IPI in



          Any potential harm to IPI by re-designating the AEO Document must be weighed against

   IPI’s status as a non-party to this litigation. See Va. Dept. of Corrections v. Jordan, 921 F.3d 180,

   192 (4th Cir. 2019) (articulating “confidentiality concerns” as a cognizable burden under Rule 45).

   Given Watson’s prior misconduct, the AEO Document’s irrelevance to this Action, and the fact

   that the information at issue has never been shared with any of the parties here due to the risks of




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   harm, IPI is likely to suffer economic harm and competitive disadvantage should the AEO

   Document be designated confidential or disclosed to Watson.

            ii.   Watson’s Counsel Has Not Demonstrated That Disclosure Of The AEO
                  Document Is Necessary To Advise Watson On The Merits Of This Action

          Watson’s counsel in this Action has not set forth any factual basis for this Court to conclude

   that the AEO Document is necessary to advise Watson on the merits of this Action. Watson’s

   counsel argues that

                                                                                    Memorandum at 8.




                                                         Id.




          Watson’s counsel also asserts that




   Id.




                                               Amended Verified Complaint at ¶ 120, W.D.C. Holdings



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   d/b/a/ Northstar Commercial Partners, et al. v. IPI Partners, LLC, et al., C.A. No. 2020-1026-JTL

   (Del. Ch. Apr. 19, 2021).




                                Memorandum at 8.




          4
             Should the Court conclude that disclosure of
                              is necessary for Watson’s counsel to properly advise him in this matter,
   IPI is prepared to offer a declaration or stipulation to this fact.


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                     The AEO Document contains sensitive and detailed information regarding

                                         IPI would be harmed by Watson possessing this information.

          Watson’s counsel has not set forth any legitimate justification for the AEO Document to be

   shown to Watson for use in this Action. To the contrary, counsel has made arguments that mimic

   those made in the pending Delaware litigation. But the Protective Order explicitly prevents the

   use of Protected Material in “any other litigation.” Protective Order 6(a). And the Court should

   not allow Watson to do an end run around the Protective Order. The Court should deny Watson’s

   Motion to Remove.

      B. The Motion To Remove Should Independently Be Denied And The Subpoena Should
         Be Quashed Because The AEO Document Is Not Discoverable Under The Third
         Amended Complaint

          The Motion to Remove should independently be denied and the subpoena should be

   quashed because the AEO Document is not relevant to the merits of this Action. The Second

   Amended Complaint included breach of contract claims and alleged that Watson breached the

   relevant lease agreements by engaging in an undisclosed kickback agreement. Sec. Am. Compl.

   ¶¶ 491–505. The now operative Third Amended Complaint does not include a breach of contract

   claim against Watson. See Third Am. Compl. ¶¶ 491–505. And Amazon’s other filings indicate

   that Amazon has not pursued its breach of contract claim against Watson because “Amazon has

   now achieved a settlement with a third-party, IPI, that mitigates the damages it would have suffered

   as a result of the lease agreements Amazon had previously entered with those Defendants and

   entities they controlled.” Motion for Leave at 3.

          The AEO Document is entirely irrelevant to the Third Amended Complaint. Specifically,

   any discovery sought from IPI regarding the damage caused to Amazon as a result of Watson’s

   breach of the applicable lease agreements is not relevant to Amazon’s remaining claims. To that

   end, Amazon’s Third Amended Complaint renders Watson’s discovery requests to non-party IPI


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   for “all documents” related to the parties to the litigation overly broad and unduly burdensome.

   See Cook v. Howard, 484 F. App’x. 805, 812 n.7 (4th Cir. 2012) (a non-party is subject to undue

   burden where a “subpoena seeks information irrelevant to the case”); In re Subpoena Duces Tecum

   to AOL, LLC, 550 F. Supp. 2d 606, 612 (E.D. Va. 2008) (a party is subject to undue burden where

   a subpoena “does not limit the documents requested to subject matter relevant to the claims or

   defenses.”). See also In re Subpoenas for Documents Issued to ThompsonMcMullan, P.C., No.

   3:16-MC-1, 2016 WL 1071016, at *5 (E.D. Va. Mar. 17, 2016) (“[A]ny subpoena that seeks

   evidence that is n[ot] relevant . . . creates an undue burden because it necessarily imposes greater

   hardship than is necessary to obtain proper discovery.”).

          The AEO Document was produced prior to Amazon filing its Third Amended Complaint.

   Had the subpoena been modified and negotiated in accordance with the Third Amended

   Complaint, the negotiated subpoena would have been far narrower, and the AEO Document likely

   would not have been produced because the AEO Document is not relevant to Amazon’s remaining

   claims. The AEO Document contains                                                               See

   Memorandum at 7 (admitting that                                                                ). It

   has no bearing on Amazon’s allegations that Watson engaged in a fraudulent kickback scheme nor

   any defense regarding the same. Thus, the Court should not order additional compliance with a

   subpoena that does not correspond with the relevant dispute, and should quash the subpoena. See

   Jordan, 921 F.3d at 190 n.4 (“Mere overbreadth, of course, usually warrants modifying a subpoena

   to narrow its scope . . . [W]here the recipient has already provided a substantial response,

   ‘quashing’ the subpoena effectively narrows it by limiting it to what has already been produced.

   A subpoena may be so sweepingly overbroad, however, that it should be quashed in its entirety.”);




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   LHF Prods. v. Doe, No. 3:16cv284, 2016 WL 7423094 (E.D. Va. Dec. 22, 2016) (quashing

   subpoenas related to severed defendants and in anticipation of filing of amended complaint).

          Because the information in the AEO Document sought is not discoverable under the newly-

   amended Third Amended Complaint, the Court should deny the Motion to Remove, or in the

   alternative, quash the subpoena to the extent it seeks such irrelevant information.

   IV.    CONCLUSION

          For the reasons stated above, non-party IPI respectfully requests that the Court deny

   Defendant Watson’s Motion to Remove “Attorneys’ Eyes Only” Designation and memorandum in

   support of the same, and/or quash Watson’s subpoena to the extent it seeks information that is

   irrelevant to the merits of this Action, and grant such further relief as the Court deems proper.



   Dated: August 17, 2022                        Respectfully submitted,


                                                 /s/ Charles F. Connolly
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                                    CERTIFICATE OF SERVICE

          I certify that on August 17, 2022, I electronically filed this document through the ECF

   system, which will send a notice of electronic filing to all counsel of record.



                                                 /s/ Charles F. Connolly
                                                 Charles F. Connolly
